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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

      IN RE: PAULETTE SOLANGE DJACHECHI, {       CHAPTER 13
                                         {
                                         {
             DEBTOR(S)                   {       CASE NO. A18-53542-PWB
                                         {
                                         {       JUDGE BONAPFEL


                             OBJECTION TO CONFIRMATION


          COMES NOW MARY IDA TOWNSON, TRUSTEE herein, and objects to
     Confirmation of the plan for the following reasons:

          1. The Debtor(s)' payments under the proposed plan are
     not current.

          2. The Debtor(s) has proposed to make payments directly
     to the Trustee but should be required to have them remitted by
     payroll deduction.

          3. The Debtor(s) has failed to provide the Trustee with a
     copy of the federal tax return or transcript of such return for
     the most recent tax year ending immediately before the
     commencement of the instant case and for which a federal income
     tax return was filed, in violation of 11 U.S.C. Section
     521(e)(2)(A)(i).

          4. The proposed Chapter 13 plan fails to provide for the
     secured claims not treated specifically under the plan to
     receive interest, in possible violation of 11 U.S.C. §
     1325(a)(3).
           
          5. The Debtor(s)’ Statement of Financial Affairs is
     inaccurate and/or incomplete; the Trustee is unable to determine
     the feasibility of the proposed plan. 11 U.S.C. Section
     1325(a)(6); specifically, 2018 year to date employment and
     rental incomes appear to be inaccurate on questions 4 and 5 and
     question 16 omits credit counseling fee.

          6. The Chapter 13 Schedules reflect exemptions that
     exceed the exemption limitations allowed in accordance with
     O.C.G.A. Section 44-13-100.

     Mary Ida Townson, Chapter 13 Trustee
     Suite 2200 – 191 Peachtree Street, N.E.
     Atlanta, GA 30303-1740
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          7. The Debtor has failed to provide adequate notice to
     homeowner’s association creditors, in violation of 11 U.S.C.
     Section 342.

          8. The Debtor(s)' budget proposes to make monthly
     charitable contributions in the amount of $260.00. The
     Debtor(s) should provide written evidence sufficient to
     establish a consistent pattern of contributing prior to the
     filing of the instant case. 11 U.S.C. Section 1325 (b)(2)(A).

          9. The Chapter 13 budget reflects a monthly disposable
     income of only $984.67; thereby, rendering the proposed Chapter
     13 plan payment of $1,050.00 per month infeasible, in violation
     of 11 U.S.C. Section 1325(a)(6).

         10. The Form 122C-1 appears to claim an incorrect amount
     for line item 16c and Form 122C-2 appears to claim an incorrect
     amount for line items 6, 9, 13 and 36.

         11. The Chapter 13 Plan fails to provide for the
     appropriate pool of funds or dividend to the unsecured
     creditors, as required by 11 U.S.C. Section 1325(b)(1)(B).
     Specifically, the 22C Form reflects disposable income of $11.17,
     thus necessitating an unsecured pool of $670.20.

         12. The proposed plan fails to provide for the treatment of
     Ditech Financial, LLC. However, said creditor has filed a
     secured arrearage claim.

         13. Section 8.1 of the proposed plan directs the Trustee to
     not fund the secured claim of Interstate Intrinsic Value Fund as
     the Debtor disputes this debt. The Trustee requests that the
     Debtor file the appropriate pleadings to have the Court make a
     determination with regard to this matter.

          WHEREFORE, the Trustee moves the Court to inquire into the
     above objections, deny Confirmation of this Debtor's (s') Plan
     and to dismiss the case; or, in the alternative, convert the
     case to one under Chapter 7.

           April 25, 2018



                                      __________/s/_____________
                                      K. Edward Safir, Attorney
                                      for Chapter 13 Trustee
                                      GA Bar No. 622149


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                              CERTIFICATE OF SERVICE


           This is to certify that I have this day served

     DEBTOR(S):

     PAULETTE SOLANGE DJACHECHI
     2865 LENOX ROAD, #308
     ATLANTA, GA 30324

     ATTORNEY FOR DEBTOR(S):

     DEBTOR PRO SE  

     in the foregoing matter with a copy of this pleading by
     depositing in the United States Mail a copy of same in a
     properly addressed envelope with adequate postage thereon.

     This 25th day of April 2018




                /s/                   ___
     K. Edward Safir, Attorney
     for Chapter 13 Trustee
     GA Bar No. 622149




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